           Case 1:09-vv-00427-UNJ Document 113 Filed 03/20/15 Page 1 of 2




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 09-427V
                                          (Not to be published)

*****************************
                            *
AMBER ROBERTS,              *
                            *                                             Filed: February 25, 2015
               Petitioner,  *
                            *                                             Decision by Stipulation; Attorney’s
          v.                *                                             Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES ,            *
                            *
               Respondent.  *
                            *
*****************************

Thomas Kelly Herren, Lexington, KY, for Petitioner

Ann Donohue Martin, Washington, DC, for Respondent

                            ATTORNEY’S FEES AND COSTS DECISION 1

       On July 1, 2009, Amber Roberts filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (Athe Vaccine Program@). On October 1, 2014, the
Respondent filed a proffer detailing an amount to be awarded to Petitioner. I subsequently issued
a decision finding Respondent’s proffer to be reasonable and granting Petitioner the award
outlined by the proffer.

        On February 23, 2015, Petitioner filed a Motion for Attorney Fees. After engaging in
informal discussions, the Parties filed a stipulation for fees on February 25, 2015. The parties
have stipulated that Petitioner’s counsel should receive a lump sum of $56,000.00, in the form of

1
  Because this decision contains a reasoned explanation for my action in this case, I will post this decision on the
United States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No.
107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42
U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the posted decision’s inclusion of certain kinds of
confidential information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will
be available to the public. (Id.)
           Case 1:09-vv-00427-UNJ Document 113 Filed 03/20/15 Page 2 of 2



a check payable to Petitioner and Petitioner’s counsel. This amount represents a sum to which
respondent does not object. In addition, and in compliance with General Order #9, Petitioner has
represented that she did incur any reimbursable costs in proceeding on this petition.

        I approve the requested amount for attorney’s fees and costs as reasonable. Accordingly,
an award should be made in the form of a check payable jointly to Petitioner and Petitioner’s
counsel, Thomas K. Herren, Esq. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation. 2


         IT IS SO ORDERED.
                                                                     /s/ Brian H. Corcoran
                                                                        Brian H. Corcoran
                                                                        Special Master




2
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing their
right to seek review.
